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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO: 1:17-cv-21204-KMM

   REYNOLD F. DEEB,

                 Plaintiff,

   v.

   GEORGES SAMI SAATI, RANLEY DESIR,
   M.D., and ADDITIONAL JOHN DOE
   OWNERS OF MOUN.COM,

                 Defendants.
                                                             /

                                   AGREED MOTION FOR RELIEF FROM
                              REQUIREMENT TO FILE A JOINT STATUS REPORT

                 Plaintiff REYNOLD F. DEEB (“Plaintiff”), hereby requests that the court relieve the

   parties from the requirement to file a Joint Status Report, and in support states as follows:

                 1.       On August 26, 2019, the court entered a paperless order [DE 121] requiring the

   parties to file a Joint Status Report on or before September 13, 2019.

                 2.       On August 30, 2019, Defendant GEORGES SAATI (“Defendant”) served upon

   Plaintiff a Proposal for Settlement pursuant to section 768.79, Florida Statutes and Rule 1.442 of

   the Florida Rules of Civil Procedure.

                 3.       On September 13, 2019, Plaintiff accepted Defendant’s Proposal for Settlement

   and filed both Plaintiff’s Notice of Acceptance and Defendant’s Proposal for Settlement [DE

   123].

                 4.       The effect of Plaintiff’s acceptance of Defendant’s Proposal for Settlement is that

   all claims in the present action are being resolved. Upon Defendant’s payment of monies to

   Plaintiff, Plaintiff will dismiss the present action with prejudice. As such, good cause exists to


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   obviate the need to expend time and resources preparing a Joint Status Report, and Plaintiff

   therefore respectfully requests that the court enter an order relieving the parties from the

   requirement to do so.

                 WHEREFORE, Plaintiff REYNOLD F. DEEB respectfully requests the entry of an order

   relieving the parties from the requirement to file a Joint Status Report set forth in DE 121 and for

   any further relief the court deems just and proper.

                                                  Respectfully submitted,

                                                  DAY PITNEY, LLP
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                                                  West Palm Beach, Florida 33401-5016
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                                                  By: _/s/_Adam M. Myron____________
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                                      CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that a true and correct copy of the foregoing document was

   served on the following counsel of record on September 13, 2019 via transmission of Notices of

   Electronic Filing generated by CM/ECF: Jason E. Bloch, Esq., 3501 W. Glencoe Street, Miami,

   FL 33133, jebloch@att.net, Defendant’s counsel of record.

                                                         /s/ Adam M. Myron
                                                         Adam M. Myron, Esq.

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                             CERTIFICATE OF GOOD FAITH CONFERENCE

                 Pursuant to Local Rule 7.1(a), I hereby certify that counsel for the movant has conferred

   with all parties or non-parties who may be affected by the relief sought in this motion in a good

   faith effort to resolve the issues and that said parties or non-parties AGREE to the relief sought

   herein.

                                                             /s/ Adam M. Myron
                                                             Adam M. Myron, Esq.




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